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CHAMBERS OF . U.S. COURTHOUSE - CHAMBERS 5D
RICHARD D, BENNETT 101 W. LOMBARD STREET
UNITED STATES DISTRICT JUDGE BALTIMORE, MD 21201
NORTHERN DIVISION TEL: 410-962-3190

FAX: 410-962-3177
August 19, 2019

LETTER ORDER

‘To Counsel of Record: United States v. Alexander
Crim. Action No. RDB-19-0020

Dear Counsel:

Today, this Court conducted a Motions Hearing. For the reasons set forth on the

record, it is HEREBY ORDERED this 19th day of August, 2019, that:

1. Defendant’s Motion to Suppress (ECF No. 20) is DENIED;

2. Defendant’s Motion to Suppress Search Warrants (ECF No. 25) is DENIED IN
PART. The portion of the Motion seeking suppression of evidence obtained from the
search of 7787 Arundel Mills Blvd., Apt. 405, Hanover, Maryland 21076 remains
pending. All other relief sought in the Motion is DENIED,

3. Defendant’s Supplemental Motion to Suppress Evidence, Derivative Evidence (ECF
No. 35) is DENIED IN PART. This Motion provides supplemental arguments
concerning the search of 7787 Arundel Mills Blvd., Apt. 405, Hanover, Maryland
21076. That portion of the Motion remains pending. All other relief sought in the
Moton Js DENIED.

4. The parties are permitted to provide supplemental briefing, not to exceed 10 pages per
filing, concerning the Defendant’s standing to challenge the search of 7787 Arundel

Mills Blvd., Apt. 405, Hanover, Maryland 21076 according to. the following schedule:
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Defendant’s Supplemental Briefing: Tuesday, August 20, 2019 at 3:00 p.m.
Government’s Response: Wednesday, August 21, 2019 at 3:00 p.m.

5. The August 19, 2019 Motions Hearing is CONTINUED and will resume on

Thursday, August 22, 2019 at 10:30 a.m.

Notwithstanding the informal nature of this letter, it is an Order of this Court and the
Clerk is directed to docket it as such.

Sincerely,

Richard D. Bennett
United States District Judge
